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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 SID MILLER, et al.,                      §
                                          §
        Plaintiffs,                       §
                                          §
 v.                                       §
                                          §            Civil Action No. 4:21-cv-0595-O
 TOM VILSACK, in his official capacity as §
 Secretary of Agriculture,                §
                                          §
        Defendant.                        §

                                           ORDER

       Before the Court is third parties National Black Farmers Association’s and the Association

of American Indian Farmers’ Motion for Leave to File Amicus Curiae Brief in Opposition to

Plaintiff’s Motion for Preliminary Injunction (ECF No. 29), filed June 11, 2021. Having

considered the Motion, and good cause having been shown, the Court finds that it should be and

is GRANTED.

       Accordingly, the Clerk of Court is directed to file on the docket the Proposed Amicus

Brief enclosed in the parties’ Motion for Leave. See Mot. 3–6, ECF No. 29.

       SO ORDERED this 14th day of June 2021.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
